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07                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
08                                      AT SEATTLE

09
     UNITED STATES OF AMERICA,            )
10                                        )
                 Plaintiff,               )
11                                        ) Case No. CR06-425-MJP
           v.                             )
12                                        )
                                          ) DETENTION ORDER
13   FERNANDO CIENFEUGOS,                 )
                                          )
14               Defendant.               )
     ____________________________________ )
15
     Offenses charged:
16
            Count 1: Conspiracy to Distribute Methamphetamine in violation of 21 U.S.C.
17
     §§ 841(a)(1) and 841(b)(1)(A), and 846.
18
            Count 2: Conspiracy to Distribute Heroin in violation of 21 U.S.C. §§ 841(a)(1),
19
     841(b)(a)(B), and 846.
20
     Date of Detention Hearing:    March 7, 2007.
21
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
22
     based upon the factual findings and statement of reasons for detention hereafter set forth,
23
     finds the following:
24
           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
25
            (1)     Pursuant to 18 U.S.C. §3142 (e), a rebuttable presumption exists that no
26
     conditions or combination of conditions exist short of detention that will reasonably assure

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 the safety of the community or the appearance in Court of the defendant. The presumption is

02 appropriately applied in this case.

03          (2)    Defendant has an extensive history of Failures to Appear for required court

04 appearances.

05          (3)    Defendant has an on-going serious substance abuse problem.

06          (4)    Defendant has family ties in Mexico.

07          (5)    Defendant has stipulated to detention, but has reserved his right to contest his

08 continued detention if there is a change in circumstances.

09          (6)    Defendant is a flight risk and a danger to the community based on the nature

10 of the pending charges. There appear to be no conditions or combination of conditions other

11 than detention that will reasonably assure the defendant’s appearance at future Court hearings

12 or address the issues of safety to the community.

13          IT IS THEREFORE ORDERED:

14          (1)    Defendant shall be detained pending trial and committed to the custody of the

15                 Attorney General for confinement in a corrections facility separate, to the

16                 extent practicable, from persons awaiting or serving sentences or being held in

17                 custody pending appeal;

18          (2)    Defendant shall be afforded reasonable opportunity for private consultation

19                 with counsel;

20          (3)    On order of a court of the United States or on request of an attorney for the

21                 government, the person in charge of the corrections facility in which

22                 defendant is confined shall deliver the defendant to a United States Marshal

23                 for the purpose of an appearance in connection with a court proceeding; and

24          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

25                 counsel for the defendant, to the United States Marshal, and to the United

26                 States Pretrial Services Officer.


     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         DATED this 7th day of March, 2007.

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                                                A
                                                JAMES P. DONOHUE
                                                United States Magistrate Judge
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     DETENTION ORDER                                                                15.13
     18 U.S.C. § 3142(i)                                                         Rev. 1/91
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